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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                                                       Chapter 11

PARAGON OFFSHORE PLC,                                       Bankr. Case No. 16-10386 (CSS)

                      Debtor.


PARAGON LITIGATION TRUST,

                      Plaintiff,

        v.

NOBLE CORPORATION PLC, NOBLE                                Adv. Proc. No. 17-51882 (CSS)
CORPORATION HOLDINGS LTD, NOBLE
CORPORATION, NOBLE HOLDING
INTERNATIONAL (LUXEMBOURG) S.à r.l.,
NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.
MARSHALL, JAMES A. MACLENNAN, MARY P.
RICCIARDELLO, JULIE J. ROBERTSON, and
DAVID WILLIAMS,

                      Defendants.

 DECLARATION OF STEPHEN J. DELLA PENNA IN SUPPORT OF DEFENDANTS’
        REPLY IN FURTHER SUPPORT OF DEFENDANTS’ MOTION
     PURSUANT TO BANKRUPTCY RULE 7016(b) AND 11 U.S.C. § 157(b)(3)
      FOR AN ORDER DETERMINING THAT THIS COURT MAY ONLY
    ENTER PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     WITH RESPECT TO COUNTS I THROUGH VIII OF THE COMPLAINT


I, Stephen J. Della Penna, declare under the penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true and correct to the best of my knowledge:

        1.     I am a member of the bars of the Delaware Supreme Court and United States

District Court for the District of Delaware and an associate at the law firm of Skadden, Arps,
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Slate, Meagher & Flom LLP (“Skadden Arps”) with an office located at One Rodney Square,

Wilmington, Delaware 19899-0636. Skadden Arps is counsel to the Defendants in the above-

captioned matter.

         2.      I respectfully submit this Declaration in support of Defendants’ Reply in Further

Support of Defendants’ Motion Pursuant to Bankruptcy Rule 7016(b) and 11 U.S.C. § 157(b)(3)

for an Order Determining That This Court May Only Enter Proposed Findings of Fact and

Conclusions of Law with Respect to Counts I Through VIII of the Complaint and to submit a

true and correct copy of the exhibit attached hereto.

         3.      Attached hereto as Exhibit A is a true and correct copy of the following

document:

 Exhibit                                          Description

    A.        April 21, 2017 letter from David W. Williams, Chairman, President and CEO of
              Noble Corporation plc to Paragon Offshore plc, Attention: Todd D. Strickler Re:
              Definitive Settlement Agreement




I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and information.

         Dated: Wilmington, Delaware
                November 9, 2018

                                       /s/ Stephen J. Della Penna
                                       Stephen J. Della Penna




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                     EXHIBIT A
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